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                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 11/6/2020
------------------------------------------------------------------X
  B. MOODY and K. O’BRIEN,                                        :
                                                                  :
                                                  Plaintiffs, :
                              -against-                           :        1:20-cv-05834-GHW
                                                                  :
  INSPIRE SUMMITS LLC and CHRISTOPHER :                                        ORDER
  P. SKROUPA,                                                     :
                                                                  :
                                             Defendants.          :
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GREGORY H. WOODS, United States District Judge:
         The Court has reviewed Plaintiffs’ response to the Court’s November 2, 2020 Order to

Show Cause. Dkt. No. 10. Although service was effectuated over a month ago—well within the

time frame provided by Fed. R. Civ. P. 4(m)—Plaintiffs are reminded that Fed. R. Civ. P. 4(l)

required them to inform the Court and file proof of service on the docket.

         The parties are reminded that all proposed orders and stipulations should comply with the

Court’s Individual Rules of Practice in Civil Cases, specifically Rule 1(F).

         Plaintiffs are directed to serve a copy of this order on all defendants in this action and to

retain proof of service.

         SO ORDERED.

 Dated: November 6, 2020                                      _____________________________________
 New York, New York                                                    GREGORY H. WOODS
                                                                      United States District Judge
